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Part A: (To be completed by inmate/resident patient) °._

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. Part B: (To be completed by Health Services Staff)
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White Copy: To Medical Records ‘ Yellow Copy: To Inmate/Resident Patient

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